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UNITED sTATEs DISTRICT CoURT wm ---~ D~C-

WESTERN DISTRICT OF TENNESSEE
Western Divisioo

85 AUG -9 AH 8= 31

 

UNITED STATES OF AMERICA

-vs- Case No. 05cr20274-Ma

BENJAMIN LOGAN

 

ORDER OF TEMPORARY DETENTION
PENDING HEARING1 PURSUANT TO
BAIL REFORM ACT
Upon motion of the Govemment, it is ORDERED that a detention hearing is set for
THURSDAY, AUGUST 11, 2005 at 2:30 P.M. before United States Magistrate Judge S. Thomas
Anderson, in Courtroom M-3, 9"' floor, United States Courthouse and FederalBuilding, 167 North

Main, Memphis, TN. Pending this heating, the defendant shall be held in custody by the United

States Marshal and produced for the hearing.

Date: August 8, 2005 [ }/\
' TU M. PHAM

UNITED STATES MAGISTRATE JUDGE

 

'If not held immediately upon defendants first appearance, the hearing may be continued for up to three days upon
motion of the govemment, or up to five days upon motion of the defendant 18 U.S.C. § 3142(f)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(£) are present Subsection (1) sets forth
the grounds that may be asserted only by the attorney for the government; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial officer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct j ustice, or threaten, inj ure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

AO 470 (8/85) Order of Temporary Detenlion

Thls document entered on the docket sheet in compliance
with R.lle 55 and/or sami FHCrP on 2 ~ L/. ”'_Q.S_

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 2:05-CR-20274 Was distributed by faX, mail, or direct printing on
August ll, 2005 to the parties listed.

 

 

Joseph C. Murphy

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

